            Case 18-34808-SLM                Doc 3       Filed 12/19/18 Entered 12/19/18 15:58:12                              Desc Main
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Fill in this information to identify the case:

Debtor Name: Frank Theatres Bayonne/South Cove, LLC, et al.
United States Bankruptcy Court for the: District of New Jersey                                                                Check if this is an
                                                                                                                                 Amended filing
CASE NUMBER (if known):



Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Holding 30 Largest Unsecured
Claims and Are Not Insiders                                                           12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or
Chapter 9 case. Include claims which the debtor disputes.1 Do not include claims by any
person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
claims by secured creditors, unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 30 largest unsecured claims.
 

    Name of creditor and          Name, telephone number and          Nature of           Indicate if    Amount of claim 
    complete mailing address,     email address of creditor           claim (for           claim is      If the claim is fully unsecured, fill in only unsecured
    including zip code            contact                             example,           contingent,     claim amount. If claim is partially secured, fill in 
                                                                      trade debts,      unliquidated,    total claim amount and deduction for value of 
                                                                      bank loans,        or disputed     collateral or setoff to calculate unsecured claim. 
                                                                      professional                       Total            Deduction for  Unsecured claim 
                                                                      services,                          claim, if        value of 
                                                                      and                                partially        collateral or 
                                                                      government                         secured          setoff 
                                                                      contracts) 
Kite Realty Group, LP     Kite Realty Group, LP                      Landlord                CUD                                                 $801,765.12
PO Box 743806             Attn: Dave Buell
Atlanta, GA 30374         30 S. Meridian Street
                          Suite 1100
                          Indianapolis, IN 46204
                          Telephone: 317-713-5647
Moss Adams LLP            Moss Adams LLP                Professional                                                                             $288,463.53
8750 N Central Expwy      Attn: Christopher Lang        Fees
Dallas, TX 75231          8750 N Central Expwy
                          Dallas, TX 75231
                          Telephone: 469-453-7199
Paragon Management, LLC Paragon Management, LLC         Professional                                                                             $284,008.29
2461 Hillsboro Blvd.      Attn: Mike Whalen             Fees
Deerfield Beach, FL 33442 2461 Hillsboro Blvd.
                          Deerfield Beach, FL 33442
                          Telephone: 954-320-7112 Ext..
                          2525




1
   The information contained herein shall not constitute an admission of liability by, nor shall it be binding on, the Debtor. The information contained
herein, including the failure by the Debtor to list any claim as contingent, unliquidated or disputed, does not constitute a waiver of the Debtor’s right
to contest the validity, priority or amount of any claim. Additionally, no comprehensive legal and/or factual investigations with regard to possible
defenses to any claims set forth in the “Consolidated List of Creditors Holding 30 Largest Unsecured Claims” have been completed. Therefore, the
listing does not and should not be deemed to constitute: (1) waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of
any listed claims; and/or (3) a waiver of any other right or legal position of the Debtor.

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          Name 

Name of creditor and         Name, telephone number and      Nature of         Indicate if    Amount of claim 
complete mailing address,    email address of creditor       claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
including zip code           contact                         example,         contingent,     claim amount. If claim is partially secured, fill in 
                                                             trade debts,    unliquidated,    total claim amount and deduction for value of 
                                                             bank loans,      or disputed     collateral or setoff to calculate unsecured claim. 
                                                             professional                     Total            Deduction for  Unsecured claim 
                                                             services,                        claim, if        value of 
                                                             and                              partially        collateral or 
                                                             government                       secured          setoff 
                                                             contracts) 
JTL Rock Hill, LLC           JTL Rock Hill, LLC             Landlord            CUD                                                   $157,200.00
8201 Preston Road            Attn: Anita Clark
Suite 700                    8201 Preston Road
Dallas, TX 75225             Suite 700
                             Dallas, TX 75225
                             Telephone: 803-324-1711
IMAX Corporation             IMAX Corporation              Trade debt                                                                 $150,981.70
2525 Speakman Dr.            2525 Speakman Dr.
Mississauga, Ontario,        Mississauga, Ontario, Canada,
Canada, L5K 1B1              L5K 1B1
                             Telephone: 905-403-6500
Staples Credit Plan          Staples Credit Plan           Trade debt                                                                 $115,590.35
PO BOX405386                 500 Staples Drive
Atlanta, GA 30384-5386       Framingham, MA 01702
                             Telephone: 800-767-1291
First Run LLC                First Run LLC                 Landlord             CUD                                                   $107,430.79
350 N. LaSalle Drive         350 N. LaSalle Drive
Suite 1100                   Suite 1100
Chicago, IL 60654            Chicago, IL 60654
                             Telephone

Frank Investments, Inc.     Frank Investments, Inc.         Landlord            CUD                                                    $96,375.11
1003 W. Indiantown Road     1003 W. Indiantown Road
Suite 210                   Suite 210
Jupiter, FL 33458           Jupiter, FL 33458
                            Telephone.
Roadside Attractions        Roadside Attractions            Trade debt                                                                 $90,912.58
7920 Sunset Blvd.           Attn: Eddie Dotson
Suite 402                   7920 Sunset Blvd.
Los Angeles, CA 90046       Suite 402
                            Los Angeles, CA 90046
                            Telephone: 323.882.8490
Deluxe Echostar LLC         Deluxe Echostar LLC             Trade debt                                                                 $89,511.30
P.O. BOX 88042              2400 W. Empire Avenue
Chicago, IL 60680-1042      Suite 200
                            Burbank, CA 91504
                            Telephone: 800-328-0304
Sysco of South East Florida Sysco of South East Florida     Trade debt                                                                 $88,631.02
1999 Martin Luther King     1999 Martin Luther King Blvd.
Blvd.                       Riviera Beach, FL 33404
Riviera Beach, FL 33404     Telephone: 561- 881-8031

Bonita Marie International   Bonita Marie International    Trade debt                                                                  $66,976.77
1960 Rutgers University      1960 Rutgers University Blvd.
Blvd.                        Lakewood, NJ 08701
Box 2015                     Telephone: 732-363-0212
Lakewood, NJ 08701




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complete mailing address,    email address of creditor       claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
including zip code           contact                         example,         contingent,     claim amount. If claim is partially secured, fill in 
                                                             trade debts,    unliquidated,    total claim amount and deduction for value of 
                                                             bank loans,      or disputed     collateral or setoff to calculate unsecured claim. 
                                                             professional                     Total            Deduction for  Unsecured claim 
                                                             services,                        claim, if        value of 
                                                             and                              partially        collateral or 
                                                             government                       secured          setoff 
                                                             contracts) 
Entertainment Supply &       Entertainment Supply &         Trade debt                                                                 $65,621.68
Technologies, LLC            Technologies, LLC
3820 Northdale Blvd. # 308B 3820 Northdale Blvd. # 308B
Tampa, FL 33624              Tampa, FL 33624
                             Telephone: 813-960-1646
Entertainment Studios        Entertainment Studios Motion   Trade debt                                                                 $64,408.65
Motion Pictures, LLC         Pictures, LLC
1925 Century Park East       Attn: Griselda Gonzales
10th Floor, Los Angeles, CA 1925 Century Park East
90067                        10th Floor, Los Angeles, CA
                             90067
                             Telephone: 310-277.3500
Blacksburg APF Partners      Blacksburg APF Partners LLC    Landlord            CUD                                                    $62,646.67
LLC                          226 Wexler Street
226 Wexler Street            Suite 200
Suite 200                    Kingsport, TN 37600
Kingsport, TN 37600
Dorsey Whitney LLP           Dorsey Whitney LLP             Professional                                                               $57,470.72
300 Crescent Court           300 Crescent Court             Fees
Suite 400                    Suite 400
Dallas, TX 75201             Dallas, TX 75201
                             Telephone
Cinema Scene Marketing       Cinema Scene Marketing         Trade debt                                                                 $53,671.12
9200 Indian Creek Pkwy       9200 Indian Creek Pkwy
# 200                        # 200
Overland Park, KS 66210      Overland Park, KS 66210
                             Telephone: 913-825-0574
Vistar Corporation           Vistar Corporation             Trade debt                                                                 $51,366.12
1700 Avenue B                1700 Avenue B
Kissimmee, FL 34758          Kissimmee, FL 34758
S V Media Works, LLC         S V Media Works, LLC           Trade debt                                                                 $51,163.65
40875 Hayrake Place          40875 Hayrake Place
Aldie, VA 20105              Aldie, VA 20105
20th Century Fox Film Corp. 20th Century Fox Film Corp.     Trade debt                                                                 $48,960.37
5799 Collection Center Drive 5799 Collection Center Drive
Chicago, IL 60693            Chicago, IL 60693
The Weinstein Company,       The Weinstein Company, LLC     Trade debt                                                                 $48,074.63
                                                   th
LLC                          345 Hudson Street, 13 Floor
Dept. CH 17365               New York, NY 10014
Palatine, IL 60055-7365
Saucon Valley Square         Saucon Valley Square Condo     Landlord            CUD                                                    $41,949.94
Condo Association            Association
1208 Route 34, Suite 19      1208 Route 34, Suite 19
Aberdeen, NJ 07747           Aberdeen, NJ 07747
The ICEE Company             The ICEE Company               Trade debt                                                                 $40,392.94
PO BOX 515723, Los           1205 S. DuPont Avenue
Angeles, CA 90051-5203       Ontario, CA 91761-7817
                             Telephone: 818-727-0369




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          Name 

Name of creditor and         Name, telephone number and      Nature of         Indicate if    Amount of claim 
complete mailing address,    email address of creditor       claim (for         claim is      If the claim is fully unsecured, fill in only unsecured
including zip code           contact                         example,         contingent,     claim amount. If claim is partially secured, fill in 
                                                             trade debts,    unliquidated,    total claim amount and deduction for value of 
                                                             bank loans,      or disputed     collateral or setoff to calculate unsecured claim. 
                                                             professional                     Total            Deduction for  Unsecured claim 
                                                             services,                        claim, if        value of 
                                                             and                              partially        collateral or 
                                                             government                       secured          setoff 
                                                             contracts) 
A24 Films LLC                A24 Films LLC                  Trade debt                                                                 $40,392.94
31 W. 27th St., 11th floor   31 W. 27th St., 11th floor
New York, NY 10001           New York, NY 10001
                             Telephone:
Card Services                Card Services                  Trade debt                                                                 $36,290.69
PO BOX 13337                 Express Mail Remittance
Philadelphia, PA 19101-3337 Processing
                             20500 Belshaw Avenue
                             Carson, CA 90746
Direct TV                    Direct TV                      Trade debt                                                                 $35,049.32
1025 Lenox Park Blvd.        1025 Lenox Park Blvd. Atlanta,
Atlanta, GA 30319            GA 30319
Water Tower Square           Water Tower Square             Trade debt                                                                 $33,184.14
Associates                   Associates
350 Sentry Parkway           350 Sentry Parkway
Building 630, Suite 300      Building 630, Suite 300
Blue Bell, PA 19422          Blue Bell, PA 19422
Visa Entertainment Solutions Visa Entertainment Solutions Trade debt                                                                   $30,637.31
US Ltd.                      US Ltd.
6300 Wilshire Blvd.          6300 Wilshire Blvd.
Suite 940                    Suite 940
Los Angeles, CA 90048        Los Angeles, CA 90048
Sidley Austin LLP            Sidley Austin LLP              Professional                                                               $30,404.25
2201 McKinney Avenue         2201 McKinney Avenue           Fees
#2000                        #2000
Dallas, TX 75201             Dallas, TX 75201
Betson Enterprises           Betson Enterprises             Trade debt                                                                 $28,187.60
303 Paterson Plank Road      303 Paterson Plank Road
Carlstadt, NJ 07072-2307     Carlstadt, NJ 07072-2307




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